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June 26, 2020

VIA ECF

The Honorable Gregory H. Woods
United States Courthouse
Southern District of New York
500 Pearl Street, Courtroom 12C
New York, NY 10007-1312


       Re:      Sweeney v. BDO USA, LLP, et al.; 19-cv-07389(GHW)

Dear Judge Woods:

We represent Defendants BDO USA, LLP and Janet Bernier in the above-referenced matter and write
jointly with counsel for Plaintiff, pursuant to Dkt. No. 62, to provide a status update regarding the
parties’ settlement negotiations. The parties have resolved their outstanding issues and need only finalize
their agreement. The parties, therefore, respectfully request that the status quo remain in effect vis-à-vis
the adjournment sina die of all deadlines in this case, and that the Court grant the parties until July 3,
2020, to finalize the settlement agreement and file a follow-up status update letter with the Court.

We thank Your Honor for your time and consideration.

Respectfully submitted,


/s Lindsay Ditlow
Lindsay F. Ditlow

cc:    Counsel for Plaintiff (via ECF)




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                              US practice conducted through McDermott Will & Emery LLP.
